                    UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

In re:                                            Chapter 11

Body Contour Ventures, LLC,                       Case No. 19-42510-pjs

                             Debtor.              Hon. Phillip J. Shefferly


                   COVER SHEET FOR MOTION TO USE CASH
                     COLLATERAL OR TO OBTAIN CREDIT

         The debtors and debtors-in-possession identified below (collectively,

“Debtors”),1 have filed a motion to use cash collateral or to obtain



1
 This Motion is being filed on behalf of Body Contour Ventures, LLC, Case
No. 19-42510, BCA Acquisitions, LLC, Case No. 19-42511, American
Aesthetic Equipment, LLC, Case No. 19-42512, Knoxville Laser Spa LLC,
Case No. 19-42513, LRX Alexandria, LLC, Case No. 19-42514, LRX
Birmingham, LLC, Case No. 19-42515, LRX Charlotte, LLC, Case No. 19-
42516, LRX Chicago, LLC, Case No. 19-42517, LRX Colorado Springs,
LLC, Case No. 19-42518, LRX Dearborn, LLC, Case No. 19-42519, LRX
East Lansing, LLC, Case No. 19-42520, LRX Grand Blanc, LLC, Case No.
19-30413, LRX Hoffman Estates, LLC, Case No. 19-42521, LRX Las
Vegas Summerlin, LLC, Case No. 19-42522, LRX Mesa, LLC, Case No.
19-42523, LRX Naperville, LLC, Case No. 19-42524, LRX Novi, LLC, Case
No. 19-42525, LRX Orland Park, LLC, Case No. 19-42526, LRX Plymouth-
Canton, LLC, Case No. 19-42527, LRX Stone Oak, LLC, Case No. 19-
42528, LRX Towson, LLC, Case No. 19-42530, LRX Troy, LLC, Case No.
19-42531, Premier Laser Spa of Greenville LLC, Case No. 19-42532,
Premier Laser Spa of Indianapolis LLC, Case No. 19-42533, Premier Laser
Spa of Louisville LLC, Case No. 19-42534, Premier Laser Spa of
Pittsburgh LLC, Case No. 19-42535, Premier Laser Spa of St. Louis LLC,
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    19-42510-lsg    Doc 17   Filed 02/25/19   Entered 02/25/19 17:41:14   Page 1 of 4
postpetition financing, which is attached to this Cover Sheet. In

accordance with LBR 4001-2(b) (E.D.M.), the debtor has identified below,

by page and paragraph number, the location in the proposed order

accompanying the motion of each of the following provisions:

                       Provision                          Contained          Location in
                                                              in        Proposed Order
                                                          Proposed
(1) Provisions that grant liens on the estate’s claims _____ Yes
                                                          Order
and causes of action arising under Chapter 5 of the                    Page ____, ¶ ____
Code.                                                    _____ No


(2) Provisions that grant cross-collateralization _____ Yes
protection to the prepetition secured creditor (i.e.,                  Page ____, ¶ ____
clauses that secure prepetition debt with categories _____ No
of collateral that were not covered by the secured
party’s lien prepetition) other than liens granted
solely as adequate protection against diminution in
value of a prepetition creditor’s collateral.


(3) Provisions that establish a procedure or _____ Yes
conditions for relief from the automatic stay.                         Page 16 , ¶ 12
                                                         _____ No




Case No. 19-42536, and Premier Laser Spa of Virginia LLC, Case No. 19-
42537.
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   19-42510-lsg     Doc 17    Filed 02/25/19     Entered 02/25/19 17:41:14    Page 2 of 4
(4) Provisions regarding the validity or perfection of _____ Yes
a secured creditor’s prepetition liens or that release                Page ____, ¶ ____
claims against a secured creditor.                       _____ No


(5) Provisions that prime any lien without that _____ Yes
lienholder’s consent.                                                 Page ____, ¶ ____
                                                         _____ No

(6) Provisions that relate to a sale of substantially all _____ Yes           passim
of the debtor’s assets.                                               Page ____, ¶ ____
                            Incorporated Term Sheet      _____ No
(7) Provisions for the payment of professional fees _____ Yes
of the debtor or any committees, including any                        Page _8 _, ¶ _4 _
carve-outs for such payments.                            _____ No     Page 13 , ¶ 9

(8) Provisions for the payment of prepetition debt.      _____ Yes
                                                                      Page ____, ¶ ____
                                                         _____ No

(9) Provisions that waive the debtor’s exclusive right _____ Yes
to file or solicit acceptances of a plan during the                   Page ____, ¶ ____
time periods specified in 11 U.S.C. § 1121.              _____ No

(10) Provisions that require the debtor’s plan to be _____ Yes                passim
on terms acceptable to the secured creditor.                          Page ____, ¶ ____

                           Incorporated Term Sheet      _____ No
(11) Provisions that require or prohibit specific terms _____ Yes             passim
in the debtor’s plan.                                                 Page ____, ¶ ____
                            Incorporated Term Sheet      _____ No
(12) Provisions establishing that proposing a plan _____ Yes                  passim
inconsistent with the order constitutes a default.                    Page ____, ¶ ____
                            Incorporated Term Sheet      _____ No

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   19-42510-lsg    Doc 17     Filed 02/25/19   Entered 02/25/19 17:41:14   Page 3 of 4
(13) Provisions that waive surcharge under 11 _____ Yes
U.S.C. § 506(c).                                                         Page 14 , ¶ 10
                                                           _____ No

(14)   Provisions     that   address   the   rights   and _____ Yes              passim
obligations of guarantors or co-obligors.                                Page ____, ¶ ____
                               Incorporated Term Sheet     _____ No

(15) Provisions that prohibit the debtor from seeking _____ Yes
approval to use cash collateral without the secured                      Page ____, ¶ ____
creditor’s consent.                                        _____ No

(16) Provisions that purport to bind a subsequent _____ Yes
trustee.                                                                 Page ____, ¶ ____
                                                           _____ No

(17) Provisions that obligate the debtor to pay any of _____ Yes
a secured creditor’s professional fees.                                  Page 8 , ¶ 4
                                                           _____ No




                                              WOLFSON BOLTON PLLC
                                              Proposed counsel to Debtors

Dated: February 25, 2019                     By:  /s/ Scott A. Wolfson
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   19-42510-lsg       Doc 17    Filed 02/25/19     Entered 02/25/19 17:41:14   Page 4 of 4
